Case 7:16-cr-01627 Document 46 Filed in TXSD on 04/03/17 Page 1 of 2

United States Dlstr\ct Court
Southern gigth of Texas

UNITED sTATEs DISTRICT CoURT
soUTHERN DISTRICT oF TEXAS APR 03 2017 v __ j

McALLEN DIvISIoN ~ '
Davld J. srad\ey, Clerk ._,_,..;

UNITED STATES OF AMERICA § .._.~

§
v. § Criminal No. M-16-l627-01

JOSE LUIS SOTO-LOPEZ §
NOTICE OF PLEA AGREEMENT
COMES NOW the United States of America, hereinafter referred to as "the Government,"
by and through its United States Attorney for the Southem District of Texas and its Assistant
United States Attorney assigned to this matter, and would respectfully show the Court that the
Government and the Defendant have entered into the following plea agreement:
l. Defendant agrees to plead guilty to Count One of the lndictment.

2. The Government will recommend:

a. that the offense level decrease by 2 levels pursuant to U.S.S.G. § 3E1 . l (a) if
the defendant clearly demonstrates acceptance of responsibility; and

b. that the remaining count of the indictment be dismissed at the time of
sentencing

lf the Defendant is not a citizen of the United States of Amen'ca, a plea of guilty may result
in removal from the United States, denial of citizenship and denial of admission to the United
States in the future.

This document states the complete and only Plea Agreement between the United States of
America and the Defendant, and is binding only on the parties to this Agreement, and it supersedes
all prior understandings, if any, whether Written or oral, and cannot be modified other than in
' writing and signed by all parties or on the record in Court. No other promises or inducements
have been or will be made to the Defendant in connection with this case, nor have any promises or

threats been made in connection with this plea.

 

 

 

 

Case 7:16-cr-01627 Document 46 Filed in TXSD on 04/03/17 Page 2 of 2

ACKNOWLEDGMENTS:
l have read this agreement and carefully reviewed every part of it with my attomey. If l
have difficulty understanding the English language, I have had a person fluent in the Spanish

language interpret this agreement to me.

Date: g q l 31 l Z Defendant: ;OBQ_ §§ng \@QQ/L

I am the Defendant's counsel. l have carefiilly reviewed every part of this agreement with

 

the Defendant. l certify that this agreement has been translated to my client by a person fluent in
the Spanish language if my client is unable to read or has difficulty understanding the English

language

Date: L`/ 3 é/L\
7 ; Counsel for Defens

For the United States of America:

 

Abe Martinez
Acting United States Attorney

id<é$`

Roberto Lo - ‘. .l
Assistant` ~ St tes Attorney

APWVED BY;

\,

J ames . Sturgis
Assist t United States Attorney in Charge

 

